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 1   DAVID J. COHEN, ESQ.
     California Bar No. 145748
 2   BAY AREA CRIMINAL LAWYERS, PC
     300 Montgomery Street, Suite 660
 3   San Francisco, CA 94104
 4   Telephone: (415) 398-3900

 5   Attorneys for Defendant Alex Hernandez

 6
 7                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,         )       Case No. CR 07-515–03 WBS
                                       )
10               Plaintiff,            )
                                       )
11   v.                                )       STIPULATION TO CONTINUE SELF-
                                       )       SURRENDER DATE OF MR. HERNANDEZ
12                                     )       AND [PROPOSED] ORDER THEREON
     ALEX HERNANDEZ,                   )
13                                     )
                 Defendant.            )
14                                     )
15                                     )

16        IT IS HEREBY STIPULATED by and between the parties that the

17   surrender date for Alex Hernandez, currently set for July 26,
18   2012, be extended by 10 days to August 6, 2012.
19        The reason for this stipulation is that Mr. Hernandez was
20
     shot four times on July 21, 2012 and has sustained severe
21
     injuries.   He was admitted to the ICU at Mercy San Juan Hospital
22
     in the early morning of July 22, 2012.           Mr. Hernandez remains in
23
     the ICU.
24
25
26
     STIPULATION TO CONTINUE SELF-
     SURRENDER DATE OF MR. HERNANDEZ
27   AND [PROPOSED] ORDER THEREON
     PEOPLE V. HERNANDEZ;
28   Case No. CR 07-515-WBS                1
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 1        The   parties    agree       that,    under   the   circumstances,   a
 2   continuance of the surrender date of July 26, 2012 to August 6,
 3   2012, or a period of 10 days is appropriate.             Within that 10 day
 4
     period, the parties intend to ascertain Mr. Hernandez’ prognosis,
 5
     and when and to where (a Bureau of Prisons hospital facility or
 6
     a Bureau of Prisons prison camp as is currently contemplated) it
 7
     would be appropriate for him to surrender.
 8
          IT IS SO STIPULATED.
 9
                                                  BENJAMIN B. WAGNER
10                                                United States Attorney

11   DATED: July 24, 2012                      By:/s/Michael M. Beckwith
                                                  MICHAEL M. BECKWITH
12                                                Assistant U.S. Attorney
13                                                Attorneys for Plaintiff
14
     DATED: July 24, 2012                      By:/s/David J. Cohen
15
                                                  DAVID J. COHEN
16
                                                  Attorneys for Defendant
17                                                ALEX HERNANDEZ

18
          IT IS SO ORDERED.
19
20
21   DATED:   July 25, 2012

22
23
24
25
26
     STIPULATION TO CONTINUE SELF-
     SURRENDER DATE OF MR. HERNANDEZ
27   AND [PROPOSED] ORDER THEREON
     PEOPLE V. HERNANDEZ;
28   Case No. CR 07-515-WBS                2
